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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       Cause No. 1:13-CR-22-HAB
                                            )
JAVIER MADRIGAL                             )

                                   OPINION AND ORDER

        Defendant has submitted a letter to the Court requesting compassionate release. (ECF No.

119). The letter was referred to the Federal Community Defender to consider representing

Defendant (ECF No. 123) and the FCD declined (ECF No. 124). The Government has filed its

response (ECF No. 125). The time for a reply has passed with no filing from Defendant. The matter

is now ripe for review.

A.      Defendant’s Conviction

        On March 27, 2013, Defendant was indicted on five counts of distributing

methamphetamine. The charges stemmed from an extensive investigation that involved multiple

controlled buys from Defendant. On April 15, 2014, Defendant pleaded guilty to a single count

and was sentenced to a term of two hundred sixty-two months’ imprisonment with five years of

supervised release. The term of imprisonment was subsequently reduced to two hundred ten

months pursuant to U.S. Sentencing Amendment 782. Defendant is currently housed at the North

Lake Correctional Facility in Baldwin, Michigan. He has a projected release date of March 30,

2028.
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B.     Legal Discussion

1.     Extraordinary and Compelling Reasons

       Defendant’s Motion requests a sentencing modification. Generally, a court is statutorily

prohibited from modifying a term of imprisonment once imposed. See 18 U.S.C. § 3582(c). A

handful of statutory exceptions exist, however, one of which permits the court to reduce a sentence

based on a retroactively applicable amendment to the sentencing guidelines that lowers the

defendant’s guideline range. 18 U.S.C. § 3582(c)(2). Another allows a court to grant an inmate

compassionate release if the inmate meets certain requirements. See 18 U.S.C. § 3582(c)(1)(A).

       Defendants request is one for compassionate release pursuant to § 3582(c)(1)(A). Under

this provision, a court may not modify a term of imprisonment except that –

       (1) in any case --

          (A) the court, upon motion of the Director of the Bureau of Prisons, or upon
       motion of the defendant after the defendant has fully exhausted all administrative
       rights to appeal a failure of the Bureau of Prisons to bring a motion on the
       defendant’s behalf or the lapse of 30 days from the receipt of such a request by the
       warden of the defendant’s facility, whichever is earlier . . . after considering the
       factors set forth in section 3553(a) to the extent that they are applicable, . . . finds
       that—
       (i) extraordinary and compelling reasons warrant such a reduction …
       … and that such a reduction is consistent with applicable policy statements issued
       by the Sentencing Commission[.]
18 U.S.C. § 3582(c)(1)(A)(i).

       Because the Defendant, not the Director of the BOP, filed the motion, the Government

asserts that the Defendant must first demonstrate that he meets the statutory exhaustion

requirement to proceed further. Here, Defendant asserted in his supplemental brief that he

exhausted his remedies, but the Court has no evidence in support of that claim. “Two questions

are presented by this issue, namely whether the exhaustion requirement is jurisdictional and


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whether, if not jurisdictional, the exhaustion requirement is waivable over the government’s

objection.” United States v. Council, No. 1:14-CR-14-5-TLS-SLC, 2020 WL 3097461, at *4 (N.D.

Ind. June 11, 2020).

       This Court has previously held that § 3582(c)(1)(A)’s exhaustion requirement is not

jurisdictional, see United States v. Hayden, No. 1:07-CR-68-HAB, 2020 WL 2079293, at *1 (N.D.

Ind. Apr. 30, 2020), relying on the Seventh Circuit’s decision in United States v. Taylor, 778 F.3d

667, 670 (7th Cir. 2015); United States v. Santiago, No. 2:16-CR-174-JVB-JEM, 2020 WL

3396899, at *2 (N.D. Ind. June 19, 2020) (“Because Congress did not mark the exhaustion

requirement as jurisdictional, the Court finds that it is non-jurisdictional.”); United States v. Cox,

No. 4:18-cr-17-TWP-VTW-1, 2020 WL 1923220, at *3 (S.D. Ind. Apr. 21, 2020). The Seventh

Circuit has recently weighed in on the issue, confirming this Court’s approach. United States v.

Gunn, 980 F.3d 1178, 1180 (7th Cir. 2020). Thus, the Defendant’s motion is properly adjudicated

in this Court regardless of whether he has or has not completed the statutory exhaustion process.

       Congress did not define “extraordinary and compelling reasons” in the statute, instead

delegating the matter to the Sentencing Commission to promulgate a policy statement that

"describe[s] what should be considered extraordinary and compelling reasons for sentence

reduction, including the criteria to be applied and a list of specific examples." 28 U.S.C. § 994(t).

The policy statement, contained in United States Sentencing Guidelines ("U.S.S.G.") § 1B1.13 and

the accompanying Application Notes, have not been amended to reflect the First Step Act's change

to § 3582(c)(1)(A) allowing prisoners to bring compassionate release claims directly before the

court. Gunn, supra. Accordingly, “§ 1B1.13 and its application notes provide useful – but not

binding – guidance to courts in determining whether a defendant has identified an extraordinary

and compelling reason for compassionate release.” United States v. Hoskins, No. 2:99 CR 117,



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2020 WL 7640408, at *2 (N.D. Ind. Dec. 23, 2020) (citing Gunn, 938 F.3d at 1180). Indeed,

“[d]istrict judges must operate under the statutory criteria–‘extraordinary and compelling

reasons’–subject to deferential appellate review.” Gunn, 980 F.3d at 1181.

        Using the guidance of §1B1.13 to inform the statutory criteria, the court considers the

medical condition of the defendant, his age, his family circumstances, and whether there exists in

the defendant’s case an extraordinary or compelling reason “other than or in combination with”

the other reasons described in the Application Notes.1 Second, the Court determines whether the

Defendant is “a danger to the safety of any other person or to the community, as provided in 18

U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(2). Finally, the Court considers the § 3553(a) factors, “to

the extent they are applicable.” U.S.S.G. § 1B1.13.

        Additionally, when the Defendant moves for a reduction based on COVID-19, Courts have

also considered: (1) the specificity of the defendant’s COVID-19 concerns, (2) whether the

defendant has a medical condition that makes him especially susceptible to the dangers of COVID-

19, and (3) the extent that the defendant’s release would mitigate or aggravate the COVID-19

pandemic. See Council, 2020 WL 3097461, at *5–7; United States v. Barrett, No. 2:17-CR-1, 2020

WL 3264112, at *3 (N.D. Ind. June 17, 2020); see also United States v. Davis, No. 2:19-CR-74-3,

2020 WL 1951652, at *1–2 (N.D. Ind. Apr. 23, 2020) (applying similar factors to consider whether

there was a “compelling reason” for pretrial release due to the COVID-19 pandemic). In the

context of the COVID-19 pandemic, “§ 3582(c)(1)(A) contemplates a sentence reduction for



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 However, as Gunn made clear, the policy statement’s requirement that the court consider whether the
reduction is otherwise “consistent with this policy statement” does not limit a district judge's discretion.
This is because the statute by which the district court is bound requires a reduction to be consistent with
“applicable policy statements.” And, the Sentencing Commission has not yet issued a policy statement
“applicable” to the Defendant’s request. Thus, Gunn held, “[a]ny decision is ‘consistent with’ a nonexistent
policy statement.” Gunn, 980 F.3d at 1180.


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specific individuals based on the individuals’ particular circumstances of where he is housed and

his personal health conditions.” See Council, 2020 WL 3097461, at *5; United States v. Melgarejo,

2020 WL 2395982, at *3 (C.D.Ill. May 12, 2020).

        Defendant’s case is easily adjudicated, as he alleges no basis other than the mere existence

of COVID in his motion. This is not grounds for compassionate release. United States v. Raia, 954

F.3d 594, 597 (3d Cir. 2020) (“[T]he mere existence of COVID-19 in society and the possibility

that it may spread to a particular prison alone cannot independently justify compassionate

release.”).

        Moreover, the Government’s brief cites ongoing efforts by the Bureau of Prisons to take

serious and substantial steps to reduce the spread of COVID-19 within its facilities. See Federal

Bureau of Prisons, COVID-19 Action Plan: Phase Seven (posted on May 20, 2020),

https://www.bop.gov/resources/news/20200520_covid-19_phase_seven.jsp               (last     visited

September     1,   2020);    see    also,   BOP       COVID-19     Modified     Operations    Plan,

https://www.bop.gov/coronavirus/covid19_status.jsp. The minimal number of cases at this

institution is a testament to the BOP’s mitigation and safety efforts. North Lake currently has only

three positive cases among its inmate population and no cases among staff. In light of the

foregoing, the Court does not find that Defendant has demonstrated extraordinary or compelling

circumstances supporting his release.

3.      §3553(a) Factors

        Even if the Court did find that extraordinary or compelling circumstances existed, it would

still find that the § 3553(a) factors do not support release. Defendant has served less than half of

his sentence. This sentence was imposed to reflect the seriousness of the offense, promote respect

for the law as well as to afford adequate deterrence and to protect the public from further crimes



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of Defendant. The sentence has already been reduced once, and any further reduction at this time

would serve to undermine those purposes of sentencing.

       The Court highlights Defendant’s considerable efforts at rehabilitation while incarcerated.

Defendant has completed dozens of courses while incarcerated and has no history of discipline.

Unfortunately, rehabilitation is not a ground for compassionate release. 28 U.S.C. § 994(t).

Defendant’s efforts will assist him when he reintegrates into society, and the Court encourages

him to continue along those lines. However, given all the factors the Court must consider,

compassionate release is not appropriate at this time.

C.     Conclusion

       For the foregoing reasons, Defendant’s letter seeking compassionate release (ECF No. 119)

is DENIED.

       SO ORDERED on January11, 2021.

                                               s/ Holly A. Brady
                                              JUDGE HOLLY A. BRADY
                                              UNITED STATES DISTRICT COURT




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